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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION



Candice Wilhelm, Individually and on behalf of ) Case No. 24-CV-01242
all others similarly situated,                 )
                                               ) Hon. LaShonda A. Hunt
                Plaintiff,                     )
                                               ) NOTICE OF VOLUNTARY DISMISSAL
        vs.                                    )
                                               )
                                               )
Plaid, Inc.                                    )
                                               )
                Defendant.                     )
                                               )
                                               )


       Now comes Plaintiff, Candice Wilhelm, by and through Counsel, and notifies

the Court and Defendant of the dismissal of this matter without prejudice pursuant to

Fed. R. Civ. P. 41(a)(1)(A).

Dated: April 23, 2024

                                             Respectfully submitted,


                                             Michael L. Fradin
                                             Michael L. Fradin, Attorney at Law
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                          CERTIFICATE OF SERVICE

       I hereby certify that on April 23, 2024 a true and complete copy of the

forgoing was served upon all necessary parties through the Court’s Electronic Filing




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system.

/s/ Michael L. Fradin




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